Case 1:24-cv-00490-MN   Document 102-1   Filed 04/14/25   Page 1 of 7 PageID #: 2256




                         EXHIBIT C
                                                        Case 1:24-cv-00490-MN                                                                                                                                                                     Document 102-1       Filed 04/14/25   Page 2 of 7 PageID #: 2257




From:                                                                                                                                                                                                                           Emerick, Jay <jay.emerick@kirkland.com>
Sent:                                                                                                                                                                                                                           Monday, March 24, 2025 8:06 PM
To:                                                                                                                                                                                                                             Basner, Adam L; Braly, Jacob; MoFo_Arm_QCOM; #KE-ARM-Qualcomm;
                                                                                                                                                                                                                                YCST_Arm_Qualcomm@ycst.com; GRP-QCvARM; Blumenfeld, Jack; jying@morrisnichols.com
Subject:                                                                                                                                                                                                                        RE: Qualcomm Inc v. Arm Ltd., C.A. No. 24-490-MN (D. Del)


Adam,

Qualcomm’s unwillingness to share any information about its motion beyond reciting a legal standard, while seeking the
complete bases for Arm’s opposition, is noted. Arm is not waiving any bases for its opposition and reserves all rights.

On the briefing schedule, we’ll get back to you separately.

Jay

Jay Emerick
-----------------------------------------------------
KIRKLAND & ELLIS LLP
333 West Wolf Point Plaza, Chicago, IL 60654
T +1 312 862 3772 M +1 773 383 3571
F +1 312 862 2200
-----------------------------------------------------
jay.emerick@kirkland.com


From: Basner, Adam L <abasner@paulweiss.com>
Sent: Monday, March 24, 2025 2:07 PM
To: Emerick, Jay <jay.emerick@kirkland.com>; Braly, Jacob <jbraly@paulweiss.com>; MoFo_Arm_QCOM
<MoFo_Arm_QCOM@mofo.com>; #KE-ARM-Qualcomm <KE-ARM-Qualcomm@kirkland.com>;
YCST_Arm_Qualcomm@ycst.com; GRP-QCvARM <GRP-QCvARM@paulweiss.com>; Blumenfeld, Jack
<jblumenfeld@morrisnichols.com>; jying@morrisnichols.com
Subject: RE: Qualcomm Inc v. Arm Ltd., C.A. No. 24-490-MN (D. Del)
Jay, As you know, leave to amend should be freely granted absent some showing of undue delay, prejudice, bad faith, or futility. Given that Qualcomm’s proposed amendment is consistent with the deadline agreed to by the parties and approved




Jay,

As you know, leave to amend should be freely granted absent some showing of undue delay, prejudice, bad faith, or
futility. Given that Qualcomm’s proposed amendment is consistent with the deadline agreed to by the parties and
approved by the court, and it adequately pleads Arm’s breach of contract, the amendment is appropriate. If you have
any additional basis or specific prejudice that you intend to present in your letter to the Court, please let us know
today.

Qualcomm proposes filing its opening letter on March 26, 2025, with Arm’s responsive letter due on March 27,
2025. Please let us know if Arm agrees.

Regards,

Adam L Basner | Associate
Paul, Weiss, Rifkind, Wharton & Garrison LLP
2001 K Street, NW | Washington, DC 20006-1047
+1 202 223 7367 (Direct Phone) | +1 202 478 0493 (Direct Fax)
abasner@paulweiss.com | www.paulweiss.com
                                                                                                                                                                                                                                                                   1
                                                          Case 1:24-cv-00490-MN                                                                                                                                                                         Document 102-1       Filed 04/14/25   Page 3 of 7 PageID #: 2258


From: Emerick, Jay <jay.emerick@kirkland.com>
Sent: Monday, March 24, 2025 10:25 AM
To: Braly, Jacob <jbraly@paulweiss.com>; MoFo_Arm_QCOM <MoFo_Arm_QCOM@mofo.com>; #KE-ARM-Qualcomm
<KE-ARM-Qualcomm@kirkland.com>; YCST_Arm_Qualcomm@ycst.com; GRP-QCvARM <GRP-
QCvARM@paulweiss.com>; Blumenfeld, Jack <jblumenfeld@morrisnichols.com>; jying@morrisnichols.com
Subject: RE: Qualcomm Inc v. Arm Ltd., C.A. No. 24-490-MN (D. Del)

Jacob,

Your email asks for each of the bases on which Arm plans to oppose your motion, but Qualcomm has not shared any of
the bases on which it will move, much less the complete bases.

If you’d like to send us a detailed list of the complete bases on which Qualcomm will move to amend, and a copy of your
motion, we’ll consider those.

Thanks,

Jay Emerick
-----------------------------------------------------
KIRKLAND & ELLIS LLP
333 West Wolf Point Plaza, Chicago, IL 60654
T +1 312 862 3772 M +1 773 383 3571
F +1 312 862 2200
-----------------------------------------------------
jay.emerick@kirkland.com


From: Braly, Jacob <jbraly@paulweiss.com>
Sent: Monday, March 17, 2025 3:34 PM
To: Emerick, Jay <jay.emerick@kirkland.com>; MoFo_Arm_QCOM <MoFo_Arm_QCOM@mofo.com>; #KE-ARM-
Qualcomm <KE-ARM-Qualcomm@kirkland.com>; YCST_Arm_Qualcomm@ycst.com; GRP-QCvARM <GRP-
QCvARM@paulweiss.com>; Blumenfeld, Jack <jblumenfeld@morrisnichols.com>; jying@morrisnichols.com
Subject: RE: Qualcomm Inc v. Arm Ltd., C.A. No. 24-490-MN (D. Del)
Jay, Can you please let us know what prejudice Arm is alleging it has faced based on delay? We trust that you have had sufficient time to review the redline. Please let us know if there is any other basis on which you oppose. Regards, Jake Braly




Jay,

Can you please let us know what prejudice Arm is alleging it has faced based on delay?

We trust that you have had sufficient time to review the redline. Please let us know if there is any other basis on which
you oppose.

Regards,

Jake Braly | Associate
Paul, Weiss, Rifkind, Wharton & Garrison LLP
1285 Avenue of the Americas | New York, NY 10019-6064
+1 212 373 3726 (Direct Phone) | +1 212 492 0726 (Direct Fax)
jbraly@paulweiss.com | www.paulweiss.com



From: Emerick, Jay <jay.emerick@kirkland.com>
Sent: Friday, March 14, 2025 1:49 PM
To: Braly, Jacob <jbraly@paulweiss.com>; MoFo_Arm_QCOM <MoFo_Arm_QCOM@mofo.com>; #KE-ARM-Qualcomm
<KE-ARM-Qualcomm@kirkland.com>; YCST_Arm_Qualcomm@ycst.com; GRP-QCvARM <GRP-
                                                                                                                                                                                                                                                                         2
                                                        Case 1:24-cv-00490-MN                                                                                                                                                            Document 102-1       Filed 04/14/25   Page 4 of 7 PageID #: 2259

QCvARM@paulweiss.com>; Blumenfeld, Jack <jblumenfeld@morrisnichols.com>; jying@morrisnichols.com
Subject: RE: Qualcomm Inc v. Arm Ltd., C.A. No. 24-490-MN (D. Del)

Jake,

We oppose at least based on Qualcomm’s delay and prejudice to Arm.

We’re still reviewing the redline you sent two days ago, so there may be additional grounds on which we oppose.

Jay

Jay Emerick
-----------------------------------------------------
KIRKLAND & ELLIS LLP
333 West Wolf Point Plaza, Chicago, IL 60654
T +1 312 862 3772 M +1 773 383 3571
F +1 312 862 2200
-----------------------------------------------------
jay.emerick@kirkland.com


From: Braly, Jacob <jbraly@paulweiss.com>
Sent: Friday, March 14, 2025 11:01 AM
To: Emerick, Jay <jay.emerick@kirkland.com>; MoFo_Arm_QCOM <MoFo_Arm_QCOM@mofo.com>; #KE-ARM-
Qualcomm <KE-ARM-Qualcomm@kirkland.com>; YCST_Arm_Qualcomm@ycst.com; GRP-QCvARM <GRP-
QCvARM@paulweiss.com>; Blumenfeld, Jack <jblumenfeld@morrisnichols.com>; jying@morrisnichols.com
Subject: RE: Qualcomm Inc v. Arm Ltd., C.A. No. 24-490-MN (D. Del)
Jay, Can you please tell us Arm’s basis for its opposition? Regards, Jake Braly | Associate Paul, Weiss, Rifkind, Wharton & Garrison LLP 1285 Avenue of the Americas | New York, NY 10019-6064 +1 212 373 3726 (Direct Phone) | +1 212




Jay,

Can you please tell us Arm’s basis for its opposition?

Regards,

Jake Braly | Associate
Paul, Weiss, Rifkind, Wharton & Garrison LLP
1285 Avenue of the Americas | New York, NY 10019-6064
+1 212 373 3726 (Direct Phone) | +1 212 492 0726 (Direct Fax)
jbraly@paulweiss.com | www.paulweiss.com



From: Emerick, Jay <jay.emerick@kirkland.com>
Sent: Thursday, March 13, 2025 6:11 PM
To: Braly, Jacob <jbraly@paulweiss.com>; MoFo_Arm_QCOM <MoFo_Arm_QCOM@mofo.com>; #KE-ARM-Qualcomm
<KE-ARM-Qualcomm@kirkland.com>; YCST_Arm_Qualcomm@ycst.com; GRP-QCvARM <GRP-
QCvARM@paulweiss.com>; Blumenfeld, Jack <jblumenfeld@morrisnichols.com>; jying@morrisnichols.com
Subject: RE: Qualcomm Inc v. Arm Ltd., C.A. No. 24-490-MN (D. Del)

Jake,

Arm opposes. Anne will follow up separately with her availability.

Jay



                                                                                                                                                                                                                                                          3
                                                        Case 1:24-cv-00490-MN                                                                                                                                                                        Document 102-1       Filed 04/14/25   Page 5 of 7 PageID #: 2260
Jay Emerick
-----------------------------------------------------
KIRKLAND & ELLIS LLP
333 West Wolf Point Plaza, Chicago, IL 60654
T +1 312 862 3772 M +1 773 383 3571
F +1 312 862 2200
-----------------------------------------------------
jay.emerick@kirkland.com


From: Braly, Jacob <jbraly@paulweiss.com>
Sent: Thursday, March 13, 2025 12:24 PM
To: Emerick, Jay <jay.emerick@kirkland.com>; MoFo_Arm_QCOM <MoFo_Arm_QCOM@mofo.com>; #KE-ARM-
Qualcomm <KE-ARM-Qualcomm@kirkland.com>; YCST_Arm_Qualcomm@ycst.com; GRP-QCvARM <GRP-
QCvARM@paulweiss.com>; Blumenfeld, Jack <jblumenfeld@morrisnichols.com>; jying@morrisnichols.com
Subject: RE: Qualcomm Inc v. Arm Ltd., C.A. No. 24-490-MN (D. Del)
Counsel, Please let us know if Arm intends to oppose Qualcomm’s amendment by COB today. If Arm intends to oppose, please provide us with times that you are free to call the Court tomorrow. Regards, Jake Braly | Associate Paul, Weiss, Rifkind,




Counsel,

Please let us know if Arm intends to oppose Qualcomm’s amendment by COB today. If Arm intends to oppose, please
provide us with times that you are free to call the Court tomorrow.

Regards,

Jake Braly | Associate
Paul, Weiss, Rifkind, Wharton & Garrison LLP
1285 Avenue of the Americas | New York, NY 10019-6064
+1 212 373 3726 (Direct Phone) | +1 212 492 0726 (Direct Fax)
jbraly@paulweiss.com | www.paulweiss.com



From: Braly, Jacob
Sent: Wednesday, March 12, 2025 10:15 AM
To: Emerick, Jay <jay.emerick@kirkland.com>; MoFo_Arm_QCOM <MoFo_Arm_QCOM@mofo.com>; #KE-ARM-
Qualcomm <KE-ARM-Qualcomm@kirkland.com>; YCST_Arm_Qualcomm@ycst.com; GRP-QCvARM <GRP-
QCvARM@paulweiss.com>; Blumenfeld, Jack <jblumenfeld@morrisnichols.com>; jying@morrisnichols.com
Subject: RE: Qualcomm Inc v. Arm Ltd., C.A. No. 24-490-MN (D. Del)

Jay,

Attached please find a redline comparing the Second Amended Complaint to the First Amended Complaint. Please let us
know if Arm opposes Qualcomm’s amendment.

Regards,

Jake Braly | Associate
Paul, Weiss, Rifkind, Wharton & Garrison LLP
1285 Avenue of the Americas | New York, NY 10019-6064
+1 212 373 3726 (Direct Phone) | +1 212 492 0726 (Direct Fax)
jbraly@paulweiss.com | www.paulweiss.com



From: Braly, Jacob
Sent: Friday, March 7, 2025 4:00 PM
To: Emerick, Jay <jay.emerick@kirkland.com>; MoFo_Arm_QCOM <MoFo_Arm_QCOM@mofo.com>; #KE-ARM-
                                                                                                                                                                                                                                                                      4
                                                        Case 1:24-cv-00490-MN                                                                                                                                                                Document 102-1       Filed 04/14/25   Page 6 of 7 PageID #: 2261

Qualcomm <KE-ARM-Qualcomm@kirkland.com>; YCST_Arm_Qualcomm@ycst.com; GRP-QCvARM <GRP-
QCvARM@paulweiss.com>; Blumenfeld, Jack <jblumenfeld@morrisnichols.com>; jying@morrisnichols.com
Subject: RE: Qualcomm Inc v. Arm Ltd., C.A. No. 24-490-MN (D. Del)

Jay,

We will send the redline as soon as it is available – likely early next week.

Regards,

Jake Braly | Associate
Paul, Weiss, Rifkind, Wharton & Garrison LLP
1285 Avenue of the Americas | New York, NY 10019-6064
+1 212 373 3726 (Direct Phone) | +1 212 492 0726 (Direct Fax)
jbraly@paulweiss.com | www.paulweiss.com



From: Emerick, Jay <jay.emerick@kirkland.com>
Sent: Friday, March 7, 2025 1:10 PM
To: Braly, Jacob <jbraly@paulweiss.com>; MoFo_Arm_QCOM <MoFo_Arm_QCOM@mofo.com>; #KE-ARM-Qualcomm
<KE-ARM-Qualcomm@kirkland.com>; YCST_Arm_Qualcomm@ycst.com; GRP-QCvARM <GRP-
QCvARM@paulweiss.com>; Blumenfeld, Jack <jblumenfeld@morrisnichols.com>; jying@morrisnichols.com
Subject: RE: Qualcomm Inc v. Arm Ltd., C.A. No. 24-490-MN (D. Del)

Jake,

Can you please send us a redline so we can evaluate your request?

Thanks,

Jay Emerick
-----------------------------------------------------
KIRKLAND & ELLIS LLP
333 West Wolf Point Plaza, Chicago, IL 60654
T +1 312 862 3772 M +1 773 383 3571
F +1 312 862 2200
-----------------------------------------------------
jay.emerick@kirkland.com


From: Braly, Jacob <jbraly@paulweiss.com>
Sent: Friday, March 7, 2025 11:56 AM
To: MoFo_Arm_QCOM <MoFo_Arm_QCOM@mofo.com>; #KE-ARM-Qualcomm <KE-ARM-Qualcomm@kirkland.com>;
YCST_Arm_Qualcomm@ycst.com; GRP-QCvARM <GRP-QCvARM@paulweiss.com>; Blumenfeld, Jack
<jblumenfeld@morrisnichols.com>; jying@morrisnichols.com
Subject: Qualcomm Inc v. Arm Ltd., C.A. No. 24-490-MN (D. Del)
Counsel, As we stated at today’s meet and confer, Qualcomm plans to amend the Complaint to include a claim related to breach of the Qualcomm TLA. Please let us know whether Arm will oppose. Regards, Jake Braly | Associate Paul, Weiss,




Counsel,

As we stated at today’s meet and confer, Qualcomm plans to amend the Complaint to include a claim related to breach
of the Qualcomm TLA.

Please let us know whether Arm will oppose.

Regards,
                                                                                                                                                                                                                                                              5
       Case 1:24-cv-00490-MN                       Document 102-1                   Filed 04/14/25            Page 7 of 7 PageID #: 2262
Jake Braly | Associate
Paul, Weiss, Rifkind, Wharton & Garrison LLP
1285 Avenue of the Americas | New York, NY 10019-6064
+1 212 373 3726 (Direct Phone) | +1 212 492 0726 (Direct Fax)
jbraly@paulweiss.com | www.paulweiss.com




This message is intended only for the use of the Addressee and may contain information that is privileged and confidential. If you are
not the intended recipient, you are hereby notified that any dissemination of this communication is strictly prohibited. If you have
received this communication in error, please erase all copies of the message and its attachments and notify us immediately.



The information contained in this communication is confidential, may be attorney-client privileged, may constitute inside information, and is intended only
for the use of the addressee. It is the property of the multi-national law firm Kirkland & Ellis LLP and/or its affiliated entities. Unauthorized use, disclosure
or copying of this communication or any part thereof is strictly prohibited and may be unlawful. If you have received this communication in error, please
notify us immediately by return email or by email to postmaster@kirkland.com, and destroy this communication and all copies thereof, including all
attachments.




The information contained in this communication is confidential, may be attorney-client privileged, may constitute inside information, and is intended only
for the use of the addressee. It is the property of the multi-national law firm Kirkland & Ellis LLP and/or its affiliated entities. Unauthorized use, disclosure
or copying of this communication or any part thereof is strictly prohibited and may be unlawful. If you have received this communication in error, please
notify us immediately by return email or by email to postmaster@kirkland.com, and destroy this communication and all copies thereof, including all
attachments.




The information contained in this communication is confidential, may be attorney-client privileged, may constitute inside information, and is intended only
for the use of the addressee. It is the property of the multi-national law firm Kirkland & Ellis LLP and/or its affiliated entities. Unauthorized use, disclosure
or copying of this communication or any part thereof is strictly prohibited and may be unlawful. If you have received this communication in error, please
notify us immediately by return email or by email to postmaster@kirkland.com, and destroy this communication and all copies thereof, including all
attachments.




The information contained in this communication is confidential, may be attorney-client privileged, may constitute inside information, and is intended only
for the use of the addressee. It is the property of the multi-national law firm Kirkland & Ellis LLP and/or its affiliated entities. Unauthorized use, disclosure
or copying of this communication or any part thereof is strictly prohibited and may be unlawful. If you have received this communication in error, please
notify us immediately by return email or by email to postmaster@kirkland.com, and destroy this communication and all copies thereof, including all
attachments.




The information contained in this communication is confidential, may be attorney-client privileged, may constitute inside information, and is intended only
for the use of the addressee. It is the property of the multi-national law firm Kirkland & Ellis LLP and/or its affiliated entities. Unauthorized use, disclosure
or copying of this communication or any part thereof is strictly prohibited and may be unlawful. If you have received this communication in error, please
notify us immediately by return email or by email to postmaster@kirkland.com, and destroy this communication and all copies thereof, including all
attachments.




                                                                                6
